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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR09-183-RSM
09         Plaintiff,                     )
                                          )
10         v.                             )            SUMMARY REPORT OF U.S.
                                          )            MAGISTRATE JUDGE AS TO
11   SAMUEL OLVIRA MORALES,               )            ALLEGED VIOLATIONS
                                          )            OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An initial hearing on supervised release revocation in this case was scheduled before me

15 on February 26, 2013. The United States was represented by AUSA Sarah Vogel and the

16 defendant by Kevin Peck. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about November 13, 2009 by the Honorable

18 Ricardo S. Martinez on a charge of Conspiracy to Distribute Methamphetamine, and sentenced

19 to 32 months custody, 5 years supervised release.

20         The conditions of supervised release included the standard conditions plus the

21 requirements that defendant participate in drug treatment and testing, abstain from alcohol,

22 submit to search, participate in a mental health program to include Moral Reconation Therapy,


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 reside and successfully complete a residential reentry program of up to 120 days, provide

02 financial information to his probation officer as requested, and not associate with any known

03 gang members. (Dkt. 196.)

04         On June 18, 2012, defendant’s probation officer reported that he had tested positive for

05 cocaine. Defendant was reprimanded, placed in a structured testing program, and referred for

06 professional assessment. No further action was taken at the time. (Dkt. 271.) On October 15,

07 2012, the probation officer reported that defendant tested positive for ecstacy,

08 methamphetamine and alcohol. Defendant was referred for counseling, a community based

09 residential program, and intensive outpatient treatment. No further action was taken at the

10 time. (Dkt. 272.)

11         In an application dated February 14, 2013 (Dkt. 273, 274), U.S. Probation Officer

12 Jennifer Van Flandern alleged the following violations of the conditions of supervised release:

13         1.      Using methamphetamine on or before January 24, February 4, February 8, and

14 February 11, 2013, in violation of standard condition number 7.

15         2.      Using alcohol, on or about February 11, 2013, in violation of his special

16 condition of supervised release.

17         Defendant was advised in full as to those charges and as to his constitutional rights.

18         Defendant admitted the violations and waived any evidentiary hearing as to whether

19 they occurred. (Dkt. 275.)

20         I therefore recommend the Court find defendant violated his supervised release as

21 alleged in violations 1 and 2, and that the Court conduct a hearing limited to the issue of

22 disposition. The next hearing will be set before Judge Martinez .


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01        Pending a detention hearing by the Court, defendant has been detained.

02        DATED this 27th day of February , 2013.

03

04                                                    A
                                                      Mary Alice Theiler
05                                                    United States Magistrate Judge

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08 cc:    District Judge:              Honorable Ricardo S. Martinez
          AUSA:                        Sarah Vogel
09        Defendant’s attorney:        Kevin Peck
          Probation officer:           Jennifer Van Flandern
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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